         Case: 1:23-cv-00631-BMB Doc #: 44 Filed: 07/16/24 1 of 3. PageID #: 1720




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


    TELEBRANDS CORPORATION,
                                                         Case No. 1:23-cv-00631-BMB
                                  Plaintiff,
                                                         Judge Bridget Meehan Brennan
    v.

    WINSTON PRODUCTS LLC,

                                  Defendant.


     JOINT STIPULATION REGARDING REPRESENTATIVE ACCUSED PRODUCTS

          In order to streamline discovery and the liability issues in the case, Plaintiff Telebrands

Corporation (“Telebrands”) and Defendant Winston Products LLC (“Winston”) (collectively,

“the Parties”), by and through their undersigned counsel, hereby submit this Joint Stipulation

Regarding Representative Accused Products and jointly stipulate to the following:

          1.     In response to Telebrands’ Interrogatory No. 1, Winston identified 26 different

models of accused products (hereinafter “Accused Products”). See Exhibit A, Winston’s

Response to Telebrands’ Interrogatory No. 1, December 14, 2023.

          2.     The Parties agree that Winston’s “Expandable Burst Proof Hose, 5/8” diameter –

Green, Model Number: 8989”1 shall serve as the “Representative Product” for all 26 of

Winston’s products identified in response to Telebrands’ Interrogatory No. 1 (Exhibit A, at 3-5)

with respect to the liability component of the case. This means that in order for Telebrands to

prevail on liability for all 26 identified models and thus obtain damages for the manufacture, use,



1
 Winston’s “Expandable Burst Proof Hose, 5/8” diameter – Green, Model Number: 8989” is the
second accused product identified in Winston’s Response to Telebrands’ Interrogatory No. 1.
Exhibit A, at 3.


                                                    1
     Case: 1:23-cv-00631-BMB Doc #: 44 Filed: 07/16/24 2 of 3. PageID #: 1721




offer for sale, sale and/or importation of all 26 models, Telebrands only needs to show that

Winston’s “Expandable Burst Proof Hose, 5/8” diameter – Green, Model Number: 8989”

product infringes one or more of the asserted claims. Likewise, for Winston to prevail on non-

infringement for all of the 26 identified models, Winston only needs to show that its

“Expandable Burst Proof Hose, 5/8” diameter – Green, Model Number: 8989” product does not

infringe the asserted claims.

       3.       Nothing in this stipulation limits the evidence that either Party may introduce

regarding the infringement and/or non-infringement of the Representative Product.

       4.       If Winston offers new products that become Accused Products, those new

products may be added to this stipulation by jointly supplementing this stipulation to include the

new products.

       5.       By this stipulation, the Parties agree that the determinations made by the Court

and/or the jury regarding liability with respect to the Representative Product shall apply to all of

the Accused Products identified in Winston’s response to Telebrands’ Interrogatory No. 1, as

reflected in Exhibit A at 3-5.




                                                  2
    Case: 1:23-cv-00631-BMB Doc #: 44 Filed: 07/16/24 3 of 3. PageID #: 1722




Dated: July 16, 2024

 STIPULATED AND AGREED TO:                    STIPULATED AND AGREED TO:

 /s/David B. Cupar                            /s/Nicholas Clifford
 David B. Cupar                               Nicholas Clifford (pro hac vice)
 McDONALD HOPKINS                             TUCKER ELLIS LLP
 600 Superior Avenue East, Suite 2100         100 South Fourth Street – Suite 600
 Cleveland, Ohio 44114                        St. Louis, MO 63102-1822
 Telephone: (216) 348-5400                    Telephone: 314-256-2550
 Email: dcupar@mcdonaldhopkins.com            Facsimile: 314.256.2549
                                              Nicholas.Clifford@tuckerellis.com
 Michael J. Zinna (admitted Pro Hac Vice)
 Vincent M. Ferraro (admitted Pro Hac Vice)   Jeffrey C. Sindelar Jr. (0084252)
 KELLEY DRYE & WARREN LLP                     TUCKER ELLIS LLP
 3 World Trade Center                         950 Main Avenue – Suite 1100
 New York, New York 10007                     Cleveland, OH 44113-7213
 Telephone: (212) 808-7800                    Telephone: 216.592.5000
 Facsimile: (212) 808-7897                    Facsimile: 216.592.5009
 Email: mzinna@kelleydrye.com                 Jeffrey.Sindelar@tuckerellis.com
 Email: vferraro@kelleydrye.com
                                              Attorneys for Defendant Winston Products LLC
 Joshua B. Long (admitted Pro Hac Vice)
 KELLEY DRYE & WARREN LLP
 515 Post Oak Blvd., Suite 900
 Houston, Texas 77027
 Telephone: (713) 355-5054
 Facsimile: (713) 355-5001
 Email: jlong@kelleydrye.com

 Attorneys for Plaintiff
 Telebrands Corporation




                                              3
